        Case 3:19-cv-00165-JCS Document 13 Filed 04/07/19 Page 1 of 2




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 5   Attorney for IP ADDRESS 73.252.128.95
 6                               UNITED STATES DISTRICT COURT
 7                              NORTHERN DISTRICT OF CALIFORNIA
 8

 9
     STRIKE 3 HOLDINGS, LLC.                         No. 3:19-cv-00165
10                 Plaintiff,                        NOTICE OF APPEARANCE FOR IP
                                                     ADDRESS 73.252.128.95
11          vs.
12   John Doe subscriber assigned IP address
     73.252.128.95               Defendants.
13

14
     Please take notice that Steven C. Vondran, Esq. of The Law Offices of Steven C. Vondran PC,
15   hereby appears as counsel on behalf of IP ADDRESS 73.252.128.95.

16
            DATED this 7th day of April , 2019.
17
                                               THE LAW OFFICES OF STEVEN VONDRAN,
18                                             P.C.

19

20                                             By /S/ Steve Vondran
                                                      Steven C. Vondran, Esq.
21                                                    Attorneys for IP 73.252.128.95

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        Case 3:19-cv-00165-JCS Document 13 Filed 04/07/19 Page 2 of 2




 1
     ORIGINAL of the foregoing e-filed this
 2   7th day of April 2019, with:
 3
     UNITED STATES DISTRICT COURT
 4
     JUDGE JOSEPH C. SPERO
 5
     450 GOLDEN GATE AVENUE
 6
     SAN FRANCISCO, CA 94102
 7   CR G
 8   15TH FLOOR

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11
     COPY mailed this date to:
12

13   Fox Rothschild LLP
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14   Los Angeles, California 90067
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15   Facsimile: (310) 556-9828
     Email: lbandlow@foxrothschild.com
16

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18      Executed on April 7th, 2019, at Houston, Texas

19                                      By:     /s/       Lisa Vondran         _________
                                                          Lisa Vondran, Assistant
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